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              1619 SEP -S p I: Ol
                                                                FILED IN:

                                                                UNITED STATES DISTRICT COURT
 5                                                              DISTRICT OF NEW JERSEY, CAMDEN,
                                                                NEW JERSEY

      ROBERT C. DALTON, individual,

10                  Plaintiff,                                  CIVIL COMPLAINT

      V.

      TANJU KARANFIL, an individual, JAMES P. CLEMENTS,
15    an individual, CLEMSON UNIVERSITY,                I
      a South Carolina Corporation, and ET AL.,         I
                                                           I
                    Defendants                             I
                                                           I
20                                                         I
          CIVIL SUIT FILING FOR DAMAGES FOR CONSPIRACY AGAINST CIVIL RIGHTS, LIBEL AND
      SLANDER, PERSONAL INJURY, MALICIOUS INJURY TO PERSONAL PROPERTY, CONSPIRACY FOR
            THE PURPOSE OF ACCOMPLISHING LAWFUL OBJECT BY UNLAWFUL MEANS, AND
25       CONSPIRACY FOR ACCOMPLISHING UNLAWFUL OBJECT. THE PLAINTIFF SEEKS ACTUAL
       DAMAGES FOR $62 MILLION, NON-ECONOMIC DAMAGES FOR $25 MILLION AND PRAYS FOR
        PUNITIVE DAMAGES. THE PLAINTIFF SEEKS TOTAL DAMAGES IN THE SUM OF $87 MILLION
                  PLUS THE PLAINTIFF PRAVS FOR $10 MILLION IN PUNITIVE DAMAGES

30
      DELIVERY METHOD: Personal Delivery by the Plaintiff

      FILED WITH:   Clerk of the Court
                    U.S. District Court;
35                  District of New Jersey
                    H. Cohen Building
                             & U.S. Courthouse
                    4th & Cooper Streets
                    Camden, NJ 08101
40                  856-757-5021
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      FILED BY:      Robert Carl Dalton
                     24 Maryland Rd
45                   little Egg Harbor Twp., NJ 08087
                     Phone:609-879-9699
                     E-mail: rca.dalton@gmail.com

      This Civil Complaint for the following crimes committed against the South Carolina Code of
50    Laws: Sections 16-5-10; 16-6-20; 16-7-150; 16-11-510; and 16-17-410. And, with no deference
      to Section 59-119-160 (4)(a)

      This Civil Complaint is filed against the two individuals and a South Carolina Corporate entity as
      list herewithin in accordance to SC Code Section 59-119-60. Furthermore, there are other
55    individuals who may have that may have contributed to one or more of the crimes mentioned
      above because of these other individuals had a relationship, in one form or another, with
      Robert Carl Dalton and ESTEC Technology Works, LLC. Investigation into these other individuals
      for their role in the crimes in this complaint and possible other crimes related to the complaint
      needs to be carried out.
60
      The actions of individuals and the corporate entity are described herewithin and this civil
      complaint may be amended in the future and other supporting information may be
      forthcoming. The following crimes are believed to have to be committed and deserve
      prosecution, especially those individuals who State employment position requires strong ethics
65    and character.

      KNOWN ADDRESSES OF INDIVIDUALS AND ENTITIES WHOM THIS COMPLAINT IS FILED
      AGAINST:

70    A. Dr. Tanju Karanfil,
         Vice President of Research,
         Clemson University
         230 Kappa Street; Clemson, South Carolina 29634
         Phone: 864-656-7701; E-mail: tkaranfi@clemson.edu
75       Clemson University Compensation: appr. $278,091 (State Salary)


      B. Dr. James P. Clements,
         President
         Clemson University
80       201 Sikes Hall
         Clemson, South Carolina 29634
         Phone: 864-656-3413
         E-mail: president@clemson.edu
         Clemson University Compensation: appr. $801,330 (State Salary of $312,530 and
85                                $488,800 by Clemson University Foundation)
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       C. Clemson University
          201 Sikes Hall
          Clemson, South Carolina 29631
 90       Contact: Chairman E. Smyth McKissick Ill, Clemson University Board of Trustees

       Note 1: Salaries were listed to show the level of responsibility each individual has, yet the
       willfully intend to injury and harm Robert Carl Dalton and ESTEC Technology Works, LLC.

 95    Note 2: Robert Carl Dalton is disabled for at moderate to severe traumatic brain injury (TBI) by
       the State of New Jersey. Robert C. Dalton is Managing Partner of ESTEC Technology Works, LLC,
       and Robert Carl Dalton currently owns 100% of the Stock of ESTEC Technology Works, LLC.
       Robert Carl Dalton is the sole representative, sole member and only representative ESTEC
       Technology Works, LLC.
100
       Under the Federal Law, the Americans with Disabilities Act (ADA), Robert Carl Dalton requests
       "reasonable accommodations" under the Americans with Disabilities Act. The requested
       "reasonable accommodations" include more time to file, to act and to response to Court
       practices. Typically, Robert Carl Dalton needs twice the allotted time or more to file , to act,
105    and to respond. Furthermore, Robert Carl Dalton communicates with circumstantial and
       tangential means in his writing and speaking which can also be accompanied with non-
       threatening emotional dysregulation, dyslexia, ADD, and dysgraphia. Often, Robert Carl Dalton
       can experience cognitive overload which can have negative effects on his executive functions
       and cause extreme fatigue, mentally and physically. Moreover, Robert Carl Dalton has a severe
110    photophobia which is wavelength specific (color of light).

       Furthermore, Robert Carl Dalton has had two subsequent concussive events since being
       disabled for a TBI; These two concussive events occurred in December 2017 and March 2019.
       Robert Carl Dalton is currently being treated for injuries sustained in these events and for
115    original TBI injuries exacerbated by these events. Therefore, SC Code Section 15-3-40, 15-3-50,
       and 15-3-60 may apply to Robert C. Dalton.

       THE CIVIL COMPLAINT SPECIFICS:

       1. South Carolina Code 16-5-10 Conspiracy Against Clvll Rights:
120       "It is unlawful for two or more persons to band or conspire together or go in disguise upon the
          public highway or upon the premises of another with the intent to injure, oppress, or violate the
          person or property of a citizen because of his political opinion or his expression or exercise of the
          same or attempt by any means, measures, or acts to hinder, prevent, or obstruct a citizen in the free
          exercise and enjoyment of any right or privilege secured to him by the Constitution and laws of the
125       United States or by the Constitution and laws of this State.


       The following individuals and entity broke SC Code 16-5-10 as briefly described as follows.
       Dr. Tanju Karanfil, Dr. James P. Clements, Clemson University (CU) [a.k.a. herein collectively
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       referred to as "THE TRANSGRESSORS], and possibly others as listed and discussed hereinafter
130    [a.k.a. herein collectively referred to as "THE OTHERS"] and possibly active participants [a.k.a.
       herein collectively as "ACTIVE PARTICIPANTS" banded and conspired together with the intent to
       injury, to oppress, to harm and to prevent Robert Carl Dalton and his property, ESTEC
       Technology Works, LLC, (ETW) [a.k.a. herein collectively referred to as "DALTON/ETW"] from
       exercising and enjoying DALTON/ETW's civil rights secured to "DALTON/ETW" as their rights
135    under Title 46, Chapter 55 "Industrial Hemp Cultivation"; Section 46-55-20 "Industrial Hemp
       Program; research; permits; regulations"; Part(2).
          Part (2) reads as follows:
              "Industrial hemp is an agricultural crop. Any public institution of higher education
              offering a four-year baccalaureate degree or private institution of higher education
140           accredited by the Southern Association of Colleges and Schools offering a four-year
              baccalaureate degree throughout the State may conduct research, pursuant to Public
              Law 113-79, contingent upon funding. The institution may conduct research or pilot
              programs as an agricultural commodity and may work with growers located in South
              Carolina. Once the institution of higher education engages in research on industrial
145           hemp, the institution shall work in conjunction with the Department of Agriculture to
              identify solutions for applications, applicants, and new market opportunities for
              industrial hemp growers. The purchaser or manufacturer will be included under the
              provisions of this chapter."


150    The TRANGRESSORS, who are members of an institution of higher education [Clemson
       University] and an institution of higher education [Clemson University] had engaged in research
       on industrial hemp; however, while this law states that the institution SHALL work "to identify
       solutions for applications, applicants and new market opportunities for industrial hemp
       growers" and "the purchaser or manufacture will be included under the provisions of this
155    chapter'', the TRANGRESSORS refused to work with DALTON/ETW (a.k.a. Planet Energy) in the
       Clemson University Industrial Hemp Pilot Program under the South Carolina Industrial Hemp
       Program in conjunction with the South Carolina Department of Agriculture (SCDA). Thus,
       DALTON/ETW were prevented from free exercise and enjoyment of their civil rights granted to
       them under SC Title 46; Chapter 55; Section 20; Part (2) by the TRANSGRESSORS. Furthermore,
160    "identify solutions" or identifying solutions are found by means of a research program; research
       programs are required by States which have hemp programs under Federal Law (2014 Farm
       Act). The SCDA hemp program required applicants for hemp permits for growing hemp to
       "identify solutions" with Clemson University [a public institute of higher learning] being that
       Clemson University was engaged in industrial hemp research. DALTON/ETW were a hemp
165    permit applicant who were vertically integrated to grow hemp, manufacture hemp products,
       sell hemp products and purchase hemp products from other growers. Such a vertical
       integrated operations can have sales revenues in the tens of millions of dollars.
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       Moreover, The TRANSGRESSORS willfully, maliciously, and intentionally denied DALTON/ETW
170    access to the government services of South Carolina in the SC Industrial Hemp Program.


       Moreover, DALTON/ETW had an agreement with Clemson University to engage in agriculture
       economic research, and DALTON/ETW agreed to pay the asking amount for this research by
       Clemson University. This agreement was made with the agricultural side of Clemson University
175    by the late Dr. Jeanne Briggs [Exhibit 1] for DALTON/ETW to work with Nathan Smith for an
       enterprise budget/production cost assessment which was believed to be under the Direction of
       Dr. Christopher Ray.


       Dr. Christopher Ray was one of two people who were key decisions makers in the Clemson
180    Industrial Hemp Pilot Program [CU IHPP] according to Clemson's website page about the CU
       IHPP at this time in 2017. Dr. Ray was listed at the decision maker for the agricultural side of the
       CU IHPP, and Dr. Karanfil was listed as the decision maker for the engineering side of the CU
       IHPP.


185    Moreover, in August 2017, DALTON/ETW initiated the "CALL FOR LETIERS OF INTENT FOR THE
       SC INDUSTRIAL HEMP PILOT PROGRAM RESEARCH" to science, medical, and engineering
       researchers at qualifying institutes of higher learning. Over a hundred emails were sent out
       across South Carolina.


190    During the entire process from beginning to when the crimes were committed, DALTON/ETW
       followed all pertinent Federal and State Laws. Moreover, DALTON/ETW had no interest in
       developing intellectual property with any university.


       Several responses from researchers at and associated with Clemson University were received
195    by DALTON/ETW; these researchers were from the engineering and science side of Clemson
       University and a medical program associated with Clemson University. As already noted,
       DALTON/ETW had reached an agreement for agricultural economic research with the
       agricultural side of Clemson University through Dr. Briggs who worked for Dr. Ray.

200    Moreover, initially DALTON/ETW had more two engineering researchers associated with CU
       who wanted to work with DALTON/ETW on their research ideas. These researchers were
       associated with Dr. Karanfil's section of the SC IHPP. So, on September 4, 2019, DALTON/ETW
       contacted the TRANSGRESSORS to meet to discuss working with these two other researchers in
       the engineering and science section of Dr. Karanfil's oversight. Specifically, Pres. Clements, Dr.
205    Karanfil and Clemson University were sent these first couple emails with ETW d.b.a. as Planet
       Energy© in September 2017 [EXHIBIT 2]


       On September 05, 2017, the TRANSGRESSOR emailed DALTON/ETW [EXHIBIT 2] informing
       DALTON/ETW that the TRANSGRESSORS would not work with DALTON/ETW in Clemson
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210    University's Industrial Hemp Pilot Program [SC IHPP]. DALTON/ETW replied asking if
       DALTON/ETW was still allowed to work with the original agreement with Dr. Briggs under Dr.
       Ray on September 05, 2019; later that day the TRANSGRESSORS replied to DALTON/ETW stating
       that DALTON/ETW could not work with Dr. Briggs, Dr. Nathan Smith and Dr. Ray. The
       TRANSGRESSORS specifically contacted Dr. Ray to let Dr. Ray know that he could not work with
215    DALTON/ETW.


       DALTON/ETW emailed Dr. Karanfil asking Dr. Karanfil what the reason for not working with
       DALTON/ETW; Dr. Karanfil did not reply.


220    Next, DALTON/ETW contacted, via phone, several members of the Board of Trustees of CU. A
       few members were left messages multiple times by DALTON/ETW. A couple members spoke
       with DALTON/ETW; these members were Mr. Swann, Mr. Wilkins and Louis P. Batson, Jr.


       Mr. Swann advised DALTON/ETW to speak with Dr. Karanfil to ask him what his reason for this
225    denial was; DALTON/ETW emailed Dr. Karanfil asking him for the reason, but there was no
       response from Dr. Karanfil.


       Mr. Wilkins spoke to DALTON/ETW, and then they exchanged emails [EXHIBIT 3]; Mr. Wilkins
       never provided DALTON/ETW with any return information to his inquiry.
230
       Mr. Batson told DALTON/ETW that the TRANGRESSORS would not work with DALTON/ETW
       because DALTON/ETW would not provide a large amount of money to Clemson University from
       the DALTON/ETW research plan.


235    Ms. McAbee and Mr. Smith were left multiple messages, but they did not return
       DALTON/ETW's calls.


       Next, I contacted the head of SCDA, but he was not in. He and the person in charge of the SC
       Industrial Hemp Program were out of town. The gentleman at SCDA to whom DALTON/ETW
240    spoke said that he would make an inquiry with Clemson about this situation.


       This SCDA person at the SCDA with called Dr. Ray, and then spoke to Dr. Ray about the situation
       between the TRANSGRESSORS AND DALTON/ETW.


245    Next, this person at the SCDA called DALTON/ETW to tell DALTON/ETW about what Dr. Ray told
       this gentleman at the SCDA about the situation between the TRANSGRESSORS and
       DALTON/ETW. This gentleman at the SCDA told DALTON/ETW that Dr. Ray said the decision
       not to work with DALTON/ETW came from "higher-up". Higher-up could only mean the
       Provost, President Clements, an Executive Vice President and a member or members of the
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250    Board of Trustees, because at this time Dr. Karanfil and Dr. Ray were Vice Presidents. THIS
       NEEDS TO BE INVESTIGATED.



                                                    *****
255
       But before going on, here is some background on Planet Energy© with CU Pres. Clements and
       Clemson University:


              On November 5, 2016, Planet Energy© was first introduced to Pres. Clements, other CU
260           officials, and Clemson University at an alumni event in the Chinese Embassy with the
              Chinese Ambassador to the U.S.A. in Washington, DC on the day after President Trump
              was elected. ETW's Planet Energy brochures had a description of Planet Energy and an
              investment pitch for $10 Million [EXHIBIT 4). Copies of Planet Energy's description and
              investment pitch was handed by me to Pres. Clemson who then ask me to give the
265           brochures to the person whom Pres. Clements directed me to give the brochures. These
              brochures included the Planet Energy's White Tigers© theme (The White Tiger is a
              legendary Chinese creature).


              In May 2017, my records show that I contacted Pres. Clements to find the contact CU
270           person working with Duke Energy on a proposed new gas turbine cogeneration facility
              on campus; President Clements replied to DALTON/ETW. President Clements contacted
              CU EVP Brett Dalton to contact DALTON/ETW.


              DALTON/ETW received a call from Brett Dalton who, upon Pres. Clements direction,
275           wanted me to give written comments about the proposed Duke Energy cogeneration
              facility for CU. DALTON/ETW spoke to Brett, and then DALTON/ETW reviewed the Duke
              Energy's energy supply contract with Clemson University which DALTON/ETW found on
              the SC Board Public Service Commission's website. DALTON/ETW's examination of the
              contract found, in DALTON/ETW's opinion, some very peculiar terms of this proposed
280           contract.


              In DALTON/ETW's opinion Clemson University was accepting a very bad pricing structure
              for heat, higher costs, and a very strange pricing system. In DALTON/ETW's professional
              opinion with 30 years of electrical utility and energy experience, the pricing system was
285           overcharging CU for natural gas prices; prices were based upon Henry Hub natural gas
              prices, not Appalachian natural gas prices which is the most likely source of the natural
              gas in Duke Energy's pipelines. DALTON/ETW's had serious concerns about some
              aspects of the proposed facility after DALTON/ETW'S review.
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290         The Appalachian natural gas prices were typically 30% lower than Henry Hub prices.
            Moreover, DALTON/ETW believe that CU was accepting natural gas prices above market
            value, and CU was subsidizing Duke Energy's non-fixed energy prices during peak-rate
            hours. Furthermore, Duke was using turbine technology that was less in efficiency and
            higher priced than GE Jenbacher reciprocating engines.
295
            The questions from DALTON/ETW was: "WHY IS CLEMSON PAYING DUKE HIGHER PRICES
            FOR HEAT WHILE SUBSIDIZING DUKE ENERGY'S PROFITS?" and "WHY ARE TURBINES
            BEING USED OVER GE JENBACKER ENGINES?" Something seems strange about this to
            DALTON/ETW.
300
            DALTON/ETW was deeply concerned about what to do about what he found in the
            energy supply contract, but around the same time DALTON/ETW had to prioritize
            DALTON/ETW's time. DALTON/ETW began to prepare their application to grow hemp
            for the SC Industrial Hemp Program and to further inquire about Planet Energy's
305         potential location at the sought-after property in Central, SC.


            DALTON/ETW did not report of their findings to Brett Dalton, the financial manager of
            Clemson University because of the explained events that are described hereinafter
            pertaining to the SC Industrial Hemp Program; DALTON/ETW were concerned that there
310         might be corruption at CU regarding the energy matters but soon DALTON/ETW
            experienced the TRANSGRESSORS' willful, malicious and intentional crimes against
            DALTON/ETW's civil rights and willful, malicious and experience intentional other
            injuries and harm to DALTON/ETW.


315         In 2017, sometime after 2016 when DALTON/ETW found, and then sought-after a
            location in Central that seemed ideal to locate Planet Energy. This property in Central
            was an estate which was owned by the former wives of a late prominent IPTAY
            supporter and good friend of INDIVIDUAL 1. At sometimes later, the realtor told
            DALTON/ETW that INDIVIDUAL 1 harvests hay or some other grain for the owner. At
320         some point later, DALTON/ETW told the realtor that DALTON/ETW intend to grow hemp
            at this location.

            In late August 2019, DALTON/ETW was given verbal permission to lease the farm to
            grow hemp and awaited to meet the owners to fill-out the proper lease forms required
325         by SCDA's hemp permit application. The understanding between the owners and
            DALTON/ETW was that If DALTON/ETW received a permit to grow hemp then
            DALTON/ETW planned on raising money to purchase the estate for Planet Energy, as the
            property was currently for sale. Soon afterwards, a strange event happened.
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330         Strangely, about one week the original due date for submission of the hemp permit
            applications, the 1st wife who was close to INDIVIDUAL 1 called the realtor. She told the
            realtor to tell DALTON/ETW that she changed her mind about leasing the property to
            DALTON/ETW for growing hemp.


335         A few days later, DALTON/ETW went to see INDIVIDUAL 2 at his office to inquire if
            INDIVIDUAL 2 has any land to lease to DALTON/ETW. To the surprise of DALTON/ETW,
            INDIVIDUAL 2, who successfully led the lobbied for the SC Industrial Hemp Program, told
            DALTON/ETW that INDIVIDUAL 2 and INDIVIDUAL 1 was submitting separate
            applications to grow hemp with the SCDA. (As it turned out, INDIVIDUAL 1 and
340         INDIVIDUAL 2 did receive permits to grow hemp from the SCDA Industry Hemp Program
            months later.)

            Soon after losing the farmland in Central, DALTON/ETW found farmland in Laurens
            County. This farmland was through a college roommate from Dalton's undergraduate
345         days at Clemson University. Regardless, without Clemson University working with Planet
            Energy, DALTON/ETW could not submit a complete and proper hemp growing
            application to the SCDA. Therefore, DALTON/ETW had no possibility to obtain a permit
            to grow hemp by the SCDA.

350         This is not the first time that DALTON experienced wrongdoing and strange events at
            Clemson University. BUT, Or. Karanfil is indirectly related to these first-time
            wrongdoings that DALTON experienced at CU.


            In the 1990's, DALTON was employed at the Environmental Systems Engineering (ESE)
355         Department for a period of time. (During this same time, Dr. Karan/ii was employed at
            the University of Michigan. Subsequently after Dalton was terminated at the ESE for
            exposing a wrongdoing to the US Department of Energy, Dr. Karan/ii was employed by
            CU at ESE in 1996, and then from 2008-2013 was Dr. Karan/ii was the department chair
            of ESE. In 2014, Dr. Karan/ii became the V.P of Research at CU)
360
            From 1994 to sometime in 1995, DALTON worked at Vitlab of CU's Department of
            Environmental Systems Engineering which was at the linvil Rich Building. The linvil Rich
            building is located at the CU Research Park in Anderson, SC; the Vitlab was in a building
            behind the linvil Rich building.
365
            Dalton found many strange arrangements and operations on the Federal contract that
            provided the funds for DALTON to work at ESE's VitLab. DALTON was responsible for all
            the glass processing and materials work at the Vitlab where the principal investigator
            had a secret agreement with their US Department of Energy contractor not to employ
370         any ceramic engineers at the Vitlab (Robert C. Dalton is a ceramic engineer).
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              A particular professor person who was in charge of the Vitlab and who was DALTON's
              work supervisor was responsible for these strange events and activity; this particular
              person is now a professor emeritus, and he had an office next to Dr. Karanfil in 2017.
375           (Environmental Systems Engineering is currently known as Environmental Engineering
              and Earth Science.) This particular professor person did not like Dalton.

               In August 2017, this particular professor person was sent a "CALL FOR LETIERS OF
               INTENT FOR THE SC INDUSTRIAL HEMP PILOT PROGRAM RESEARCH" by DALTON/ETW
380            [EXHIBITS].


               Possibly, this particular professor person played a major role in these crimes in this
              complaint. This person's operation in 2017 was filled with nepotism, favoritism and, in
               my opinion, unethical professional behavior.
385
              In the 1990's, Dalton reported this unethical behavior to a major project Federal
              Sponsor, the US Department of Energy; DALTON's actions were found to be correct, but
               DALTON's employment contract was terminated days later by this particular professor
              person who was the principle investigator on the contract and who conspired with the
390           managing director at the VitLab of Clemson University at the Research Park in Anderson,
              SC. to terminate DALTON. The particular professor person could be a significant suspect
               in these crimes of this complaint


              As describe above, three strange events a happen in the Summer of 2017:
395                   1) DALTON/ETW's initial farmland site to grow hemp was taken away from
                      DALTON/ETW, and by coincidence INDIVIDUAL 1 who applied and who was
                      granted one of 20 original permits to grow hemp under SC Industrial Hemp
                      Program worked for and was close friend of the owner of the farmland site;
                      2) the TRANSGRESSORS refused to work with DALTON/ETW in the SC Industrial
400                   Hemp Program as mandated by SC Law; and
                      3) In DALTON/ETW's opinion, DALTON/ETW found that CU and Duke Energy may
                      have a strange pricing agreement that would be financially bad for CU
                      (DALTON/ETW could be incorrect).


405                                                    *****
        Now, the complaint' main discussion of the TRANSGRESSORS actions against DALTON/ETW
        regarding DALTON/ETW's permit application to grow, to manufacture, to sell and to buy hemp
        under the SC Industrial Hemp Program continues.
410
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        EXHIBIT 2 contains a collection of emails exchanges between the TRANSGRESSORS and
        DALTON/ETW. These emails in EXHIBIT 2 discuss DALTON/ETW's participation in the SC Hemp
        program with the TRANSGESSORS as the research institution which is required by the SC Law.
        At the time of this exchange, DALTON/ETW already had an agreement with the agricultural side
415     of the CU IHPP.


        The email exchange [Exhibit2] provides solid evidence that the TRANSGRESSORS would not
        work with DALTON/ETW as required by the SC Industrial Hemp Cultivation Law. This email
        exchange by the TRANSGRESSORS and DALTON/ETW is solid evidence that the TRANGRESSORS
420     committed the crimes as listed above in this complaint.


        On September 04, 2017 [EXHIBIT 2], DALTON/ETW contacted President Clements, Dr. Karanfil
        and Clemson University about a meeting on September 6, 2017 to discuss the research with the
        engineering and science side of the CU IHPP. DALTON/ETW sent an attachment with Planet
425     Energy's proposed hemp assay which would be a small part of the other 18 hemp acres which
        would be used to grow the highest value hemp product, CBD's, under a CU research program
        for an economic study by Dr. Nathan Smith which was under the oversight of Dr. Christopher
        Ray on the agricultural side of CU and managed by Dr. Jeanne Briggs [EXHIBIT 1].


430     CBD tincture products were selling for the equivalent of between $80,000 and $139,000 per kg
        CBD, and DALTON/ETW intended use the enormous profits from DALTON/ETW internet retail
        sales and wholesale of CBD products to fund the research, development and commercialization
        of other energy programs at Planet Energy© and to promote the Appalachian Energy Project©
        [APPENDIX A].
435
        Moreover, an ADDITIONAL SEVEN (7) Clemson University RESEARCHERS at CU reached out to
        DALTON/ETW to work with DALTON/ETW'S Planet Energy at a later day, and this date was
        before the final deadline for submitting a permit application to the SCDA. BUT, these seven
        researchers were not allowed to work with DALTON/ETW according to the TRANSGRESSORS.
440
        The seven researchers were very accomplished professionals. One of these seven CU
        researchers was a Senior Researcher and Engineer at the United States Department of
        Agriculture {USDA) and adjunct professor at CU. The remaining six individuals are an
        entrepreneur in bioenergy and bio-coproducts, a CU professor in Biosystems Engineering, a CU
445     Assistant Professor in Biosystems Engineering, a CU Assistant Professor in Environmental
        Systems and Engineering, a CU Coordinator of Integrated Pest Management and Sustainable
        Agriculture Programs, and an Associate Professor in Biosystems Engineering [EXHIBIT 6].


        In September 2017, the DALTON/ETW permit application was sent to SCDA without the needed
450     agreements with CU; This lack of research agreement with CU prevented DALTON/ETW from
        obtaining a permit to grow hemp in South Carolina's Industrial Hemp Program. DALTON/ETW
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        withheld information on the 20-acre of farmland in Laurens County to be farm with hemp,
        DALTON/ETW's full confidential research plan and full confidential business plan, and did not
        use the two available South Carolina residents who would have signed the application; without
455     the involvement with one to ten of the Clemson University's researchers and without a
        Clemson University research agreement with the CU IHPP, DALTON/ ETW could not submit a
        proper permit for DALTON/ETW's vertical operation to grow hemp, to extract and manufacture
        CBD products, to market wholesale and internet retail sales of CBD, and to research hemp
        species and products. Therefore DALTON/ETW had no ability to receive a permit to grow hemp
460     by the SCDA, and the TRANSGRESSORS caused DALTON willful, intentional and malicious injury
        and harm to DALTON/ETW. Hence, DALTON/ETW lost their ability to establish Planet Energy in
        South Carolina, lost their funding source to develop the Appalachian Energy Project, and lost
        substantial revenues from the sales of CBD products from 18 acres of hemp containing high
        levels (10-12%) of CBD, terpenes and other cannabinoids. The profits to DALTON/ETW'S retail
465     value of these CBD product sales are between $43 million and $63 million.


        Therefore, DALTON/ETW withheld any proprietary, confidential, and privileged information
        from being disclosed in their hemp permit application to SCDA; The malicious and corrupt
        actions by the TRANSGRESSORS caused DALTON/ETW to withhold such.
470
        Robert C. Dalton and ESTEC Technology Works, LLC were harmed and injured by the actions of
        the Transgressors and, possibly by the Others. The actions of the TRANSGRESSORS were with
        intent being false with respect to the requirements of the SC Hemp Law and were malicious and
        intentional actions towards Robert Carl Dalton and ESTEC Technology Works, LLC.
475
        The wrongful and willful actions by the Transgressors intended to injure Robert C. Dalton and
        ESTEC Technology Works, LLC to cause harm to Robert Carl Dalton and ESTEC Technology
        Works. DALTON/ETW were harmed and injured by these actions


480     The willful and wrongful conduct by the TRANSGRESSORS were motivated primarily by
        unreasonable financial gain because Mr. Baston, a CU Board of Trustees member, told
        DALTON/ETW that the TRANGRESSORS would not work with DALTON/ETW because
        DALTON/ETW would not and could not provide much money to Clemson University from
        DALTON/ETW's research plan. The DALTON/ETW research plan provided very little monies to
485     the CU IHPP because the Clemson University clearly stated that "At present, there are no
        Clemson PSA researchers with experience in the production of hemp" and, likewise, those
        Clemson researchers who worked outside of the PSA in the science and engineering
        departments of CU did not have experience either. It was the intent of DALTON/ESTC during
        the proposed first year of the working with the CU researchers that the time spent the first year
490     was a learning time for future work in the relationship with the CU IHPP. There were other
        possible conflicts:
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               Planet Energy of DALTON/ETW was in direct competition with CU and CU research parks
               for research and commercialization funding of innovations. Many of Planet Energy's
495            areas of research for hemp were in direct competition for energy, biofuel, and materials
               work that were being researched at CU research parks which include ICAR in Greenville,
               Clemson's Innovation Campus and Technology Park in Anderson, and the Restoration
               Center in Charleston, SC. The Competition by Planet Energy also affected other Clemson
               Research Centers which are directly associated with energy: SCE&G Innovation Center,
500            the Duke Energy Innovation Center and the Duke Energy's eGRID as well as many other
               of CU's corporate research partners in these areas. Duke Energy Innovation Center is a
               joint venture between Clemson University and the South Carolina Research Authority
               (SCRA). Oddly, the TRANSGRESSORS never mention to thes places to DALTON/ETW or
               asked DALTON/ETW (Planet Energy) to participate at these CU research centers and
505            parks. See SC State mandate of SC Code Section 59-119-160 (4)(a).


        The TRANSGRESSORS understood that their unreasonably dangerous nature of their harmful
        conduct, together with the high likelihood that DALTON/ETW would be harmed and injured as a
        result from the TRANGRESSORS' conduct, and the TRANGRESSORS' actions toward
510     DALTON/ETW were known and approved by the CU President, CU Officers, and other CUs
        person responsible for making policy decisions on behalf of the TRANGRESSORS.


        Furthermore, the TRANSGRESSORS' actions could subject the TRANSGRESSORS to convictions of
        felonies, and the TRANGRESSORS' acts and course of conduct are proximate causes of the
515     damage, injury, harm and insult to DALTON/ETW.


        Other related actions by the TRANSGRESSORS were insulting to DALTON/ETW. Subsequent to
        the 2017 permit application extended deadline by the SCDA, CU's Webpage for the CU IHPP
        incorporated a very large amount of ETW's areas or proposed research in ETW's "CALL FOR
520     LETTERS OF INTENT FOR THE SC INDUSTRIAL HEMP PILOT PROGRAM RESEARCH" solicitation.

        Other actions by James T. Clements were very disturbing to DALTON/ETW. DALTON/ETW
        disclosed to James T. Clement that DALTON was disabled for a traumatic brain injury (TBI). Mr.
        Clements did not respond to Mr. Dalton's request for an explanation as to why the
525     TRANSGRESSORS would not work with DALTON/ETW. The American with Disabilities Act
        requires that public entities, such as CU, have a Communication Standard for Disabilities. There
        is a strong likelihood that the TRANSGESSORS do not have a written Communication Standard
        for communication with someone with a moderate to severe TBI; A communication standard
        for the TBI disability would include that a reasonable answer be given to the individual who has
530     a TBI. Moreover, Mr. Clements actions in this matter is concerning because Mr. Clements has a
        child with an intellectual disability but Mr. Clements treats Mr. Dalton who has an intellectual
        disability poorly and further violates Mr. Dalton's civil rights, if the TRANSGRESSORS do not
        have a Communication Standard for some with a TBI.
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535     2. South Carolina Code 16-5-20 Punishment for Additional Crimes
             "If in violating any of the provisions of Sections 16-5-10 or 16-5-50 any other crime,
            misdemeanor or felony shall be committed, the offender or offenders shall, on conviction
            thereot be subjected to such punishment for the same as is attached to such crime,
            misdemeanor and felony by the existing laws of this State"
540
        The TRANSGRESSORS are believed to have committed other felonies: South Carolina Code 16-7-
        150 Slander and Libel, SECTION 16-11-510 Malicious Injury to Animals and Other Personal
        Property, and SECTION 16-17-410 Conspiracy.


545     3. South Carolina Code 16-7-150 Slander and Libel
           "Any person who shall with malicious intent originate, utter, circulate or publish any false
           statement or matter concerning another the effect of which shall tend to injure such person
           in his character or reputation shall be guilty of a misdemeanor and, upon conviction
           therefore, be subject to punishment by fine not to exceed five thousand dollars or by
550        imprisonment for a term not exceeding one year, or by both fine and imprisonment, in the
           discretion of the court; provided, that nothing herein shall be construed to abridge any right
           any person may have by way of an action for damages for libel or slander under the existing
           law."

555     By Slander and Libel, the TRANSGRESSORS originated, uttered and circulated and published
        with malicious intent false statements about and false matters concerning DALTON/ETW. This
        crime was evident in the email trail in Exhibit 2 and other emails. The TRANSGRESSOR
        knowingly, willfully and intentionally injured DALTON/ETW. The injury included injury to the
        reputations, the characters, the ability to create Planet Energy, and to the ability to have
560     financial gain of DALTON/ETW.


        The false statement and false matter are intrinsically false to the law which that false statement
        and that false matter relates to the committed crime of South Carolina Code 16-5-10
        Conspiracy Against Civil Rights and the violation of civil rights of Section 46-55-20 "Industrial
565     Hemp Program; research; permits; regulations"; Part(2) against DALTON/ETW by the
        TRANSGRESSORS. The false matter is false affair, false state and false situation regarding said
        laws.



570     4. SECTION 16-11-510 Malicious Injury to Animals and Other Personal Property

        (A) It is unlawful for a person to willfully and maliciously cut, shoot, maim, wound, or otherwise
        injure or destroy any horse, mule, cattle, hog, sheep, goat, or any other kind, class, article, or
        description of personal property, or the goods and chattels of another.
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575     The TRANSGRESSORS willfully and maliciously injured the property of Dalton/ETW by refusing
        to follow the law which allowed for DALTON/ETW to file a proper permit application to grow, to
        extract CBD, terpenes and other cannabinoids, to manufacture products from these extracts,
        and to market these said products in a wholesale and internet retail sales factions. The willful
        and malicious injury decreased the value of ESTEC Technology Works, LLC, the property of
580     Robert C. Dalton. Also, the TRANSGRESSORS willfully and maliciously injured the value by
        ruining the reputation of ESTEC Technology Works, LLC and the U.S. patents of Robert C.
        Dalton. Furthermore, the TRANSGRESSORS willfully and maliciously injured and destroy the
        DALTON/ETW application to grow hemp under the SCDA. The TRANSGESSORS willfully and
        maliciously injured the reputation and consulting value of DALTON/ETW.

585

        5. SECTION 16-17-410 Conspiracy

        The common law crime known as 11 conspiracy 11 is defined as a combination between two or
        more persons for the purpose of accomplishing an unlawful object or lawful object by unlawful
        means.
590
        The TRANSGRESSORS banded together for the purpose of accomplishing an unlawful object
        which was maliciously and willful injured the property of DALTON/ETW. The TRANGRESSORS
        banded together for the purpose of accomplishing an unlawful object which to was deny
        DALTON/ETW the right to work with a qualified university pilot program for hemp research as
595     required under the SC Law.

        The TRANSGRESSORS banded together to accomplish a lawful object by unlawful means by
        eliminated the competition for private and public funding by DALTON/ETW's Planet Energy, a
        research park, to the Research Parks and Research Programs of Clemson University.

        The TRANSCRESSORS banded together to self-enrich themselves by a lawful object by unlawful
600     means by denying DALTON/ETW the capability to compete for a license to grow hemp and use
        the profits from growing hemp and selling CBD product which allowed for the growth of Planet
        Energy, thereby effectively eliminating the TRANSGRESSORS a local competitor for private and
        public funds and investment thereby increasing the TRANGRESSORS ability to meet goals so the
        TRANSGRESSORS can get bonuses and other financial and professional gains for themselves.

605     DAMAGES SOUGHT

        The Plaintiff seeks damages. The Plaintiff seeks actual damages, non-economic damages and
        prays for punitive damages (While the Plaintiff is a Christian, the Plaintiff believes that pray for
        punitive damage instead of seek an amount of punitive damages is a violation by the State of
        the Plaintiff's Civil Rights under the first Amendment of the U.S Constitution; the freedom of
610     speech, freedom of expression, and the freedom of religions of the Plaintiff is violated.
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        Furthermore, the State of South Carolina violates the commerce clause of the U.S. Constitution
        by controls the right of the 1st Amendment of the U.S. Constitution of individuals across state
        lines when having to file civil action in South Carolina.)

        The Plaintiff seeks actual damages of $62 million dollars. See Appendix 1 in this document for
615     how the actual damages were calculated.

        The Plaintiff seeks non-economic damages of $25 million dollars for pain, suffering,
        inconvenience, mental anguish, loss of enjoyment of life, injury to reputation, humiliation, fear
        of loss property value, fear of loss investment, fear of loss funding, and fear of loss of future
        employment of services. The TRANSGRESSORS were negligent in their duties to the State and
620     to Clemson University, their employers. DALTON/ETW was injured and harmed by the willful,
        intentional and malicious actions and activity of the Transgressors.

        Some of these damages are non-pecuniary; Some of these damages are pecuniary.

        The amount of damage sought for total damages is the sum of $87 million dollar plus the
        Plaintiff prays for $10 Million in punitive damages.

625

        I believe and declare under penalty of perjury that the foregoing is true and correct

        Signed this 05 day of September, 2019




630

                       Mailing Address:        Robert Carl Dalton
                                               24 Maryland Rd.
                                               Little Egg Harbor Twp., NJ 08087
635                                            Phone:609-879-9699
                                               E-mail 1: rca.dalton@gmail.com


                                               *****
640




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                                    APPENDIX 1
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                            APPENDIX A: Yield and Value of Hemp Plants
                                               and
                                          CBD Products.

  In the hemp industry, two measurement systems of weight are used; the English system and
  Metric system.

  The English System of weight measure (pounds, lbs.) is used to measure the weight of
  harvested raw hemp plants as well as harvested hemp flower and leaves; the hemp plant
  material is valued in dollars per pound ($/lb) where this value is based upon the quality of the
  plant material and the CBD content of the plant material.

  The Metric System is used to measure the weight of CBD, and the value of the CBD is express as
  dollars per kilogram ($/kg) or dollars per gram ($/gm). CBD have a significant value especially in
  the retail market.

  As the Hemp CBD industry has developed, CBD and its natural form, CBDA, have gotten
  attention. CBDA is found in the hemp plant and is the acid form of CBD. CBD is produced by
  heating CBDA to decarboxylate CBDA. CBDA has been found to be more bioactive than CBD.
  So, the CBD Hemp market has transformed into an industry resolving the question of which CBD
  and CBDA products are desired by the marketplace. Another important chemical species in the
  hemp plant is terpenes. Terpenes are what expresses to these senses as the bouquet (or what
  one smells) of the hemp plant species. Proper methods of extraction will extract CBDA, CBD and
  terpenes. The quantity of each extracted species is dependent upon the extraction method.

  Collectively, in the explanation of value, value is based upon Hemp CBD which is included what
  is know as "full spectrum CBD". Full spectrum CBD isolate is an isolate that contains CBDA,
  CBD, terpenes and other cannabinoids. As the hemp industry progresses and evolves, the
  quality measurements of the "Full Spectrum CBD" isolate will develop. In the meantime, the
  value of CBD will be based upon published values and retail prices.

  Generally, the Hemp CBD industry has 3 or 4 tiers of the product. These tiers represent the
  harvest plant material to the retail product. The explanation is meant to provide a general
  overview of the industry and how value is created.

         TIER 1 Tier 1 of product is CBD in the form of CBDA with terpenes and other
         cannabinoids in the plant material itself. The weight percentage the collective extracted
         chemical species (the CBDA, CBA, terpenes and other cannabinoids) in the plant and the
         quality of the plant materials determines the value of the plant material. The value can
         range from $10/lb to $100/lb depending on market value and plant material quality.

         TIER 2 Tier 2 of product is the extracted CBO isolate. CBD is extracted from the plant
         materials by a variety of methods. Currently, the most popular methods have been
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       ethanol extraction and CO2 extraction. Other extraction methods include butane
       extraction, oil extraction, cold water extraction, and extraction by hydrocarbon
       mixtures. (In some products, the CBDA and terpenes are not extracted but utilized by
       chopping the plant flower and the leaves associated with the flower into a fine size.) The
       value of Tier 2 products be $10,000/kg or higher depending upon market conditions.

       TIER 3 Tier 3 of product is the refined Tier 2 products which is incorporated into a Tier 3
       product. Tier 3 products includes tinctures, capsules, creams, etc. Tier 3 products can
       be sold wholesale or by internet sales at retail prices. Usually, Tier 3 products are sold
       by the milligram of CBD (or full spectrum CBD isolate) in the product. In 2016 and 2017,
       the prices for a 1000 mg CBD product at a retail store at the kg-price-equivalent ranged
       from of $90,000/kg to $135,000/kg; The prices for the wholesale-price-equivalent is
       about 50% of the retail (keystone price), and sometime the wholesale price could be
       higher than 50%; the wholesale prices of Tier 3 products ranged from of $45,000/kg to
       $62,500/kg.

       TIER 4 Tier 4 of product is the retail sales of the Tier 3 products at brick & mortar stores
       or over-the-counter sales. In 2016 and 2017, the retail-price-equivalent for a 1000 mg
       CBD product at a retail store ranged from $90/1000 mg to $135/1000 mg or, at the kg-
       price-equivalent, the retail prices ranged from of $90,000/kg to $135,000/kg.

       The acreage value of products of Planet Energy at these Tier level can be calculated; the
       Planet Energy value would have been in the millions of dollars even tens of millions of
       dollars.

       Unless one believes that the God has made individuals in South Carolina to be stupid,
       otherwise only corruption, avarice and poor management can explain the poor success
       of the hemp industry in South Carolina during its first two years of existence. I do not
       believe that God individuals in South Carolina as brilliant as any of his children
       anywhere.

       The calculated value of Planet Energy total actual damages is $64 Million. The value of
       the non-economic damages is $25 Million. And Punitive Damages are prayed for.

       The total damages are $89 million and Punitive Damages are prayed for. The plaintiffs
       pray for punitive damages.

       See Appendix Al for the Calculated Value of Hemp to ESTEC Technology Works, LLC
       (d.b.a. Planet Energy and 100% owned by Robert C. Dalton)
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                                 APPENDIX Al: ACTUAL DAMAGES
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                                                                          Potential Ytelds and Values of Hemp plants for CBO, CBO isolate, CBO products




                                                                                                                                                                                                     ---
                     4 foot center to center plants                                                                                   Yield of Plant Mass for CSD and Yield of C80 Isolate.
                                                                                                 CBO Hemp Product Yields                                                                                                CBD Hemp Product Value
                     plants per acre                  yieldperplantfpn}         C8D Pw>t ~ yield (tl,}/acre   CBO Plant MatlKi.11 vk-kl lib)/1.l;laes   PureCBO!qVKnl        ,....ceofkl)J1&acre1.              PlantVIINe/lkr95     CBD~.ae              C80 IMlbte/18 .ues           • ol 1000rrc product                33%,rofttmargin
#ofpJants                                      2722                       340                          2039                                                                                                                                                                      at89/1000mc
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